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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF TENNESSEE
                             EASTERN DIVISION


UNITED STATES OF AMERICA,

       Plaintiff,

v.                                               Case No. 17-10101-STA

ANTONIO GAULDIN,

       Defendant.


     ORDER RESETTING SCHEDULING CONFERENCE AND NOTICE OF RESETTING


       Upon motion of the defendant, consent of the Unites States,

and for good cause shown, it is hereby:

       ORDERED,     ADJUDGED,   and    DECREED     that     the       scheduling

conference is reset to January 11, 2018 at 9:00 a.m.



       Entered this 13th day of December, 2017.




                                   s/S. Thomas Anderson
                                   S. Thomas Anderson
                                   Chief United States District Judge
